Case: 1:13-cv-04271 Document #: 177 Filed: 03/08/16 Page 1 of 18 PageID #:1938
Case: 1:13-cv-04271 Document #: 177 Filed: 03/08/16 Page 2 of 18 PageID #:1939
Case: 1:13-cv-04271 Document #: 177 Filed: 03/08/16 Page 3 of 18 PageID #:1940
Case: 1:13-cv-04271 Document #: 177 Filed: 03/08/16 Page 4 of 18 PageID #:1941
Case: 1:13-cv-04271 Document #: 177 Filed: 03/08/16 Page 5 of 18 PageID #:1942
Case: 1:13-cv-04271 Document #: 177 Filed: 03/08/16 Page 6 of 18 PageID #:1943
Case: 1:13-cv-04271 Document #: 177 Filed: 03/08/16 Page 7 of 18 PageID #:1944
Case: 1:13-cv-04271 Document #: 177 Filed: 03/08/16 Page 8 of 18 PageID #:1945
Case: 1:13-cv-04271 Document #: 177 Filed: 03/08/16 Page 9 of 18 PageID #:1946
Case: 1:13-cv-04271 Document #: 177 Filed: 03/08/16 Page 10 of 18 PageID #:1947
Case: 1:13-cv-04271 Document #: 177 Filed: 03/08/16 Page 11 of 18 PageID #:1948
Case: 1:13-cv-04271 Document #: 177 Filed: 03/08/16 Page 12 of 18 PageID #:1949
Case: 1:13-cv-04271 Document #: 177 Filed: 03/08/16 Page 13 of 18 PageID #:1950
Case: 1:13-cv-04271 Document #: 177 Filed: 03/08/16 Page 14 of 18 PageID #:1951
Case: 1:13-cv-04271 Document #: 177 Filed: 03/08/16 Page 15 of 18 PageID #:1952
Case: 1:13-cv-04271 Document #: 177 Filed: 03/08/16 Page 16 of 18 PageID #:1953
Case: 1:13-cv-04271 Document #: 177 Filed: 03/08/16 Page 17 of 18 PageID #:1954
Case: 1:13-cv-04271 Document #: 177 Filed: 03/08/16 Page 18 of 18 PageID #:1955




                                                3/8/16
